Case 2:15-ml-02668-PSG-SK Document 1388 Filed 06/06/24 Page 1of1 Page ID #:52371

UNITED STATES DISTRICT COURT TRANSCRIPT ORDER FORM COURT USE ONLY
RA RN Please use one form per court reporter per case, and contact court reporter DUE DATE:
CENTRAL DISTRICT OF CALIFORNIA directly immediately after e-filing form. (Additional instructions on next page.)
la. Contact Person 2a. Contact Phone 3a. Contact E-mail
for this Order |ReNee Thomas Number (917) 304-7728 Address rthomas@susmangodfrey.com
1b. Attorney Name 2b. Attorney Phone 3b. Attorney E-mail
(if different) Seth Ard Number (212) 471-8354 ‘Address sard@susmangodfrey.com
4, MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE) 5. Name & Role of Class Plaintiffs
Susman Godfrey, LLP Party Represented
(One Manhattan West
50th Floor 6. Case Name In Re National Football Leagues Sunday Ticket Antitrust Litigation
INew York, NY 10001
7a. District Court 1S mI | . 7b. Appeals Court
Case Number 2:15-ml-02668-PSG-SKx Case Number
8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
T] DIGITALLY RECORDED TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: | Myra Ponce
9, THIS TRANSCRIPT ORDER IS FOR: [| Appeal Non-Appeal [_] Criminal Civil [|] CJA [-] USA [_] FPD [_] In forma pauperis (Court order for transcripts must be attached)
, You MUST check the docket to see if the transcript has already been filed, and if so,
10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type): provide the "Release of Transcript Restriction” date in column c, below.
a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court (CMI/ECF access included c. RELEASE OF TRANS.
. : . : * - 1d DELIVERY TYPE
order releasing transcript to the ordering party must be attached here or emailed to b. SELECT FORMAT(S) with purchase of transcript.) RESTRICTION DATE | 30-day, 14-day, 7-day, 3-day, Daily, Hourly
transcripts_cacd@cacd.uscourts.gov.)
HEARING || Minute Order JUDGE PROCEEDING TYPE / PORTION PDF TEXT / CONDEN- CM/ECF worp (Provide release date 0 (Check with court reporter
DATE Docket# If requesting less than full hearing, specify portion (e.g., witness or time). . ASCIL = PAPER SED ACCESS efiled transcript, or check to| before choosing any delivery time
(if available) (name) CJA orders: indicate if openings, closings, voir dire, or instructions requested] (email) (email) (email) (web) INDEXING certify none yet on file. ) sooner than "Ordinary-30.")
06/06/2024 Gutierrez [al © O O CO OO OO |]@ HOURLY (2 hrs)

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11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).

12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
payment under the Criminal Justice Act.

G-120 (06/18)

Date |June 5, 2024 Signature |/s/ Seth Ard

